                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                        DOCKET NO. 1:17-cr-00034-MOC-DLH

                                           )
 UNITED STATES OF AMERICA,                 )
                                           )
                                           )
 Vs.                                       )                          ORDER
                                           )
 RANDALL LEROY FRADY                       )
                                           )
                Defendant.                 )




       THIS MATTER is before the court on the court’s own Motion to Continue. At

calendar call, defendant failed to appear and it appears that defendant is now a fugitive,

preventing this court from trying the case during the June 2017 term.

                                        ORDER

       IT IS, THEREFORE, ORDERED that the court’s Motion to Continue is

GRANTED as it appears that defendant has absconded from the conditions of supervision

as provided by Judge Howell’s Bond and has failed to appear for trial during the June 2017

term of this court. This matter is CONTINUED until the next term after defendant is

apprehended and the time is excluded under the Speedy Trial Act in accordance with 18

U.S.C. § 3161(h)(3)(A) & (B). The Clerk of Court is instructed to move this defendant to

the court’s fugitive docket.

                                        Signed: June 5, 2017




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